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Nike, Inc. v. The Partnerships and Unincorporated Associations Identified on Schedule "A" ‐ Case No.
                                            20‐cv‐2619



                                        Schedule A

No.    Seller Aliases                              No.   Seller Aliases
  1    WELLSRIRING Store                             2   WHTSAP008615605004650 Store
  3    World T‐shirt Store                           4   WTUVIVE physical education Store
  5    YIdemusha Store                               6   YiZu Fashion Store
  7    YNDM Store                                    8   YOU SPORTY Store
  9    Youngsneakers Store                          10   yuan bo 2007 Store
 11    YuanJiangLeTao LeTao Store                   12   Yueyang Chuzhong Trading Co., Ltd. Store
 13    YZ Store                                     14   ZPCAILT Official Store
 15    ZRICKIE POP Phone Accessories Store          16   3DLampDesigner Store
 17    AK47 Store                                   18   at the stone Store
 19    CHINA Toy Factory Store                      20   Daifen Boutique Store
 21    GL keychain Store                            22   Houkiper Terry Store
 23    Jhonping Art print Poster Store              24   JIMU's Store
 25    JuliaRoberts Store                           26   JUNDL Store
 27    Kog Maw Store                                28   Likun Business Store
 29    LuminousClothing Store                       30   Newborn photography props Store
 31    Personality Store                            32   rainbow ribbon
 33    ROUYHUAL 2 Store                             34   Shoe tribe Store
 35    Shop1202408 Store                            36   Shop2292094 Store
 37    Shop2422017 Store                            38   Shop2906241 Store
 39    Shop3001062 Store                            40   Shop3086026 Store
 41    Shop327599 Store                             42   Shop3523033 Store
 43    Shop3682061 Store                            44   Shop4390026 Store
 45    Shop4410006 Store                            46   Shop4421012 Store
 47    Shop4504086 Store                            48   Shop4511011 Store
 49    Shop4650088 Store                            50   Shop4658034 Store
 51    Shop4689126 Store                            52   Shop4823006 Store
 53    Shop4838023 Store                            54   Shop4868033 Store
 55    Shop4871201 Store                            56   Shop4884216 Store
 57    Shop4917091 Store                            58   Shop4926026 Store
 59    Shop4933029 Store                            60   Shop5021206 Store
 61    Shop5035150 Store                            62   Shop5039379 Store
 63    Shop5040023 Store                            64   Shop5041254 Store
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No.    Seller Aliases                       No.   Seller Aliases
 65    Shop5043089 Store                     66   Shop5045049 Store
 67    Shop5046027 Store                     68   Shop5058230 Store
 69    Shop5071234 Store                     70   Shop5073176 Store
 71    Shop5076183 Store                     72   Shop5083050 Store
 73    Shop5084062 Store                     74   Shop5087118 Store
 75    Shop5092031 Store                     76   Shop5097054 Store
 77    Shop5112006 Store                     78   Shop5115033 Store
 79    Shop5116020 Store                     80   Shop5116091 Store
 81    Shop5117029 Store                     82   Shop5159044 Store
 83    Shop5165018 Store                     84   Shop5196041 Store
 85    Shop5222015 Store                     86   Shop5244202 Store
 87    Shop5246109 Store                     88   Shop5249051 Store
 89    Shop5250223 Store                     90   Shop5254143 Store
 91    Shop5257118 Store                     92   Shop5273004 Store
 93    Shop5324006 Store                     94   Shop5348001 Store
 95    Shop5365126 Store                     96   Shop5369252 Store
 97    Shop5371194 Store                     98   Shop5374285 Store
 99    Shop5381003 Store                    100   Shop5383177 Store
101    Shop5384190 Store                    102   Shop5384193 Store
103    Shop5406022 Store                    104   Shop5416006 Store
105    Shop5419033 Store                    106   Shop5419144 Store
107    Shop5420208 Store                    108   Shop5421072 Store
109    Shop5423033 Store                    110   Shop5427014 Store
111    Shop5428155 Store                    112   Shop5431189 Store
113    Shop5432032 Store                    114   Shop5434032 Store
115    Shop5434185 Store                    116   Shop5435120 Store
117    Shop5437211 Store                    118   Shop5437212 Store
119    Shop5438033 Store                    120   Shop5438255 Store
121    Shop5440176 Store                    122   Shop5442169 Store
123    Shop5476062 Store                    124   Shop5478052 Store
125    Shop5478207 Store                    126   Shop5479089 Store
127    Shop5482009 Store                    128   Shop5482208 Store
129    Shop5484080 Store                    130   Shop5484090 Store
131    Shop5490147 Store                    132   Shop5491012 Store
133    Shop5492143 Store                    134   Shop5495040 Store
135    Shop5497120 Store                    136   Shop5498067 Store
137    Shop5504067 Store                    138   Shop5505097 Store
139    Shop5514072 Store                    140   Shop5518096 Store
141    Shop5518109 Store                    142   Shop5568044 Store
143    Shop5568070 Store                    144   Shop5572063 Store
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No.    Seller Aliases                       No.   Seller Aliases
145    Shop5579053 Store                    146   Shop5586111 Store
147    Shop5587287 Store                    148   Shop5589239 Store
149    Shop5590096 Store                    150   Shop5591216 Store
151    Shop5592199 Store                    152   Shop5594032 Store
153    Shop5595085 Store                    154   Shop5597011 Store
155    Shop5598304 Store                    156   Shop5603025 Store
157    Shop5603109 Store                    158   Shop5605189 Store
159    Shop5605470 Store                    160   Shop5606074 Store
161    Shop5606377 Store                    162   Shop5607221 Store
163    Shop5617055 Store                    164   Shop5619042 Store
165    Shop5622068 Store                    166   Shop5626057 Store
167    Shop5631027 Store                    168   Shop5631037 Store
169    Shop5633106 Store                    170   Shop5635103 Store
171    Skywo Store                          172   Sneakers Aliexpres Store
173    songshu Store                        174   Stars Sneakers Factory Store
175    Stronger Stronger Stronger Store     176   Supernike Store
177    Tea card rabbit Store                178   TeeLee Store
179    The home of Mrs china Store          180   The peck Store
181    Thestron China Specialty Store       182   Thinking Store
183    TIHE World Store                     184   TNT03 Store
185    Town scenery Store                   186   Trading Iron Patch Store
187    TrueNice Shoe Store                  188   TRY JADE feshionsport Store
189    TRY JADE trend shoe Store            190   t‐shir19 Store
191    t‐shirt21 Store                      192   Unique Step Store
193    UNIY ITOS Store                      194   UsaTeamFans Store
195    Viniatoo Official Store              196   VINTOHOXN Official Store
197    VOFEIYA Store                        198   WannaU Factory Shoe Store
199    WDX‐49 Store                         200   WINDRIDER Store
201    Women's franchise Store              202   WRJSXQ Store
203    XiliGe Store                         204   Yamazaki Art Poster Store
205    YangXinYangYi Store




No.    Online Marketplaces                  No.   Online Marketplaces
  1    aliexpress.com/store/4697043           2   aliexpress.com/store/5574184
  3    aliexpress.com/store/5382204           4   aliexpress.com/store/1727628
  5    aliexpress.com/store/4480037           6   aliexpress.com/store/1946243
  7    aliexpress.com/store/5365319           8   aliexpress.com/store/2660007
  9    aliexpress.com/store/3044042          10   aliexpress.com/store/5073289
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No.    Online Marketplaces                  No.   Online Marketplaces
 11    aliexpress.com/store/5378042          12   aliexpress.com/store/5189032
 13    aliexpress.com/store/5423113          14   aliexpress.com/store/4873042
 15    aliexpress.com/store/4432200          16   aliexpress.com/store/5442035
 17    aliexpress.com/store/5605050          18   aliexpress.com/store/4322005
 19    aliexpress.com/store/4994091          20   aliexpress.com/store/3865017
 21    aliexpress.com/store/5063307          22   aliexpress.com/store/4650157
 23    aliexpress.com/store/2897022          24   aliexpress.com/store/5380036
 25    aliexpress.com/store/5115146          26   aliexpress.com/store/4298022
 27    aliexpress.com/store/5235010          28   aliexpress.com/store/5248175
 29    aliexpress.com/store/5382286          30   aliexpress.com/store/2227049
 31    aliexpress.com/store/5602123          32   aliexpress.com/store/1914055
 33    aliexpress.com/store/5054089          34   aliexpress.com/store/4496016
 35    aliexpress.com/store/1202408          36   aliexpress.com/store/2292094
 37    aliexpress.com/store/2422017          38   aliexpress.com/store/2906241
 39    aliexpress.com/store/3001062          40   aliexpress.com/store/3086026
 41    aliexpress.com/store/327599           42   aliexpress.com/store/3523033
 43    aliexpress.com/store/3682061          44   aliexpress.com/store/4390026
 45    aliexpress.com/store/4410006          46   aliexpress.com/store/4421012
 47    aliexpress.com/store/4504086          48   aliexpress.com/store/4511011
 49    aliexpress.com/store/4650088          50   aliexpress.com/store/4658034
 51    aliexpress.com/store/4689126          52   aliexpress.com/store/4823006
 53    aliexpress.com/store/4838023          54   aliexpress.com/store/4868033
 55    aliexpress.com/store/4871201          56   aliexpress.com/store/4884216
 57    aliexpress.com/store/4917091          58   aliexpress.com/store/4926026
 59    aliexpress.com/store/4933029          60   aliexpress.com/store/5021206
 61    aliexpress.com/store/5035150          62   aliexpress.com/store/5039379
 63    aliexpress.com/store/5040023          64   aliexpress.com/store/5041254
 65    aliexpress.com/store/5043089          66   aliexpress.com/store/5045049
 67    aliexpress.com/store/5046027          68   aliexpress.com/store/5058230
 69    aliexpress.com/store/5071234          70   aliexpress.com/store/5073176
 71    aliexpress.com/store/5076183          72   aliexpress.com/store/5083050
 73    aliexpress.com/store/5084062          74   aliexpress.com/store/5087118
 75    aliexpress.com/store/5092031          76   aliexpress.com/store/5097054
 77    aliexpress.com/store/5112006          78   aliexpress.com/store/5115033
 79    aliexpress.com/store/5116020          80   aliexpress.com/store/5116091
 81    aliexpress.com/store/5117029          82   aliexpress.com/store/5159044
 83    aliexpress.com/store/5165018          84   aliexpress.com/store/5196041
 85    aliexpress.com/store/5222015          86   aliexpress.com/store/5244202
 87    aliexpress.com/store/5246109          88   aliexpress.com/store/5249051
 89    aliexpress.com/store/5250223          90   aliexpress.com/store/5254143
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No.    Online Marketplaces                  No.   Online Marketplaces
 91    aliexpress.com/store/5257118          92   aliexpress.com/store/5273004
 93    aliexpress.com/store/5324006          94   aliexpress.com/store/5348001
 95    aliexpress.com/store/5365126          96   aliexpress.com/store/5369252
 97    aliexpress.com/store/5371194          98   aliexpress.com/store/5374285
 99    aliexpress.com/store/5381003         100   aliexpress.com/store/5383177
101    aliexpress.com/store/5384190         102   aliexpress.com/store/5384193
103    aliexpress.com/store/5406022         104   aliexpress.com/store/5416006
105    aliexpress.com/store/5419033         106   aliexpress.com/store/5419144
107    aliexpress.com/store/5420208         108   aliexpress.com/store/5421072
109    aliexpress.com/store/5423033         110   aliexpress.com/store/5427014
111    aliexpress.com/store/5428155         112   aliexpress.com/store/5431189
113    aliexpress.com/store/5432032         114   aliexpress.com/store/5434032
115    aliexpress.com/store/5434185         116   aliexpress.com/store/5435120
117    aliexpress.com/store/5437211         118   aliexpress.com/store/5437212
119    aliexpress.com/store/5438033         120   aliexpress.com/store/5438255
121    aliexpress.com/store/5440176         122   aliexpress.com/store/5442169
123    aliexpress.com/store/5476062         124   aliexpress.com/store/5478052
125    aliexpress.com/store/5478207         126   aliexpress.com/store/5479089
127    aliexpress.com/store/5482009         128   aliexpress.com/store/5482208
129    aliexpress.com/store/5484080         130   aliexpress.com/store/5484090
131    aliexpress.com/store/5490147         132   aliexpress.com/store/5491012
133    aliexpress.com/store/5492143         134   aliexpress.com/store/5495040
135    aliexpress.com/store/5497120         136   aliexpress.com/store/5498067
137    aliexpress.com/store/5504067         138   aliexpress.com/store/5505097
139    aliexpress.com/store/5514072         140   aliexpress.com/store/5518096
141    aliexpress.com/store/5518109         142   aliexpress.com/store/5568044
143    aliexpress.com/store/5568070         144   aliexpress.com/store/5572063
145    aliexpress.com/store/5579053         146   aliexpress.com/store/5586111
147    aliexpress.com/store/5587287         148   aliexpress.com/store/5589239
149    aliexpress.com/store/5590096         150   aliexpress.com/store/5591216
151    aliexpress.com/store/5592199         152   aliexpress.com/store/5594032
153    aliexpress.com/store/5595085         154   aliexpress.com/store/5597011
155    aliexpress.com/store/5598304         156   .aliexpress.com/store/5603025
157    aliexpress.com/store/5603109         158   aliexpress.com/store/5605189
159    aliexpress.com/store/5605470         160   aliexpress.com/store/5606074
161    aliexpress.com/store/5606377         162   aliexpress.com/store/5607221
163    aliexpress.com/store/5617055         164   aliexpress.com/store/5619042
165    aliexpress.com/store/5622068         166   aliexpress.com/store/5626057
167    aliexpress.com/store/5631027         168   aliexpress.com/store/5631037
169    aliexpress.com/store/5633106         170   aliexpress.com/store/5635103
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No.    Online Marketplaces                  No.   Online Marketplaces
171    aliexpress.com/store/4375005         172   aliexpress.com/store/5260118
173    aliexpress.com/store/4424174         174   aliexpress.com/store/5050103
175    aliexpress.com/store/5598099         176   aliexpress.com/store/2822032
177    aliexpress.com/store/5403065         178   aliexpress.com/store/4591021
179    aliexpress.com/store/4709085         180   aliexpress.com/store/5379050
181    aliexpress.com/store/4780039         182   aliexpress.com/store/5478102
183    aliexpress.com/store/5380340         184   aliexpress.com/store/5587333
185    aliexpress.com/store/5114067         186   aliexpress.com/store/4383031
187    aliexpress.com/store/5431303         188   aliexpress.com/store/5002058
189    aliexpress.com/store/5379013         190   aliexpress.com/store/5581074
191    aliexpress.com/store/5576061         192   aliexpress.com/store/4979075
193    aliexpress.com/store/5079002         194   aliexpress.com/store/5072257
195    aliexpress.com/store/5481156         196   aliexpress.com/store/1044265
197    aliexpress.com/store/4999110         198   aliexpress.com/store/5492111
199    aliexpress.com/store/5085302         200   aliexpress.com/store/1190123
201    aliexpress.com/store/2345226         202   aliexpress.com/store/5090042
203    aliexpress.com/store/2678151         204   aliexpress.com/store/4043064
205    aliexpress.com/store/5585286
